829 F.2d 1125
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Fingal JOHNSON, Plaintiff-Appellant,v.Robin PRATT; Linda Verlin, Defendants-Appellees.
    No. 87-1308
    United States Court of Appeals, Sixth Circuit.
    September 28, 1987.
    
      ORDER
      Before ENGEL, MERRITT and RYAN, Circuit Judges.
    
    
      1
      This pro se plaintiff seeks review of a judgment of the district court which dismissed his civil rights action filed pursuant to 42 U.S.C. Sec. 1983.  Upon examination of the record and briefs submitted by the parties, the panel agrees unanimously that oral argument is not needed.  Rule 34(a), Federal Rules of Appellate Procedure.
    
    
      2
      For the reasons stated in the district court's memorandum opinion, its final judgment entered March 11, 1987, is hereby affirmed.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    